                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                               No. 5:19-cv-249-FL

MATTHEW BRADLEY,                                    )
                               Plaintiff,           )
                                                    )      MEMORANDUM OF LAW
       - against –                                  )      IN SUPPORT OF LIEBOWITZ
                                                    )      LAW FIRM, PLLC AND
ANALYTICAL GRAMMAR, INC.                            )      RICHARD LIEBOWITZ’S
                                                    )      MOTION TO QUASH AND FOR
                                                    )      PROTECTIVE ORDER
                               Defendant.           )

       NOW COME the Liebowitz Law Firm, PLLC (“LLF”) and Richard Liebowitz

(hereinafter “Liebowitz,” and collectively with LLF “Moving Parties”), former attorneys for

plaintiff Matthew Bradley (“Plaintiff” or “Bradley”), through undersigned counsel, and

respectfully submit this Memorandum of Law in support of their Motion to Quash and for a

Protective Order related to three Subpoenas Duces Tecum dated 1 June 2021 and issued by

opposing defense counsel Dan Booth (“Booth”), attorney for defendant Analytical Grammar,

Inc. (“Defendant”):

                                       INTRODUCTION

       A subpoena may only be issued to obtain documents relevant to a party’s claims and

defenses. Notably, courts apply an even higher standard when the subpoena is issued to obtain

documents from an opposing attorney. Additionally, under Fed. R. Civ. P. 45, an attorney issuing

and serving a subpoena must take reasonable steps to avoid imposing undue burden or expense.

Here, Booth served the following Subpoenas: Subpoena to Richard Liebowitz; Subpoena to

Liebowitz Law Firm LLC; and, Subpoena to JPMorgan Chase Bank, N.A., LLF’s banking

institution (collectively the “Booth Subpoenas”). The Booth Subpoenas demand production of

the Moving Parties’ confidential, proprietary, and financial documents unrelated to any claims or


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defenses. For the reasons stated herein, therefore, the Moving Parties respectfully request this

Court to grant the Moving Parties’ Motion to Quash and for a Protective Order.

                                        BACKGROUND

       On 18 June 2019, Bradley, through counsel including Liebowitz, commenced this action

alleging claims for copyright infringement. (Compl., ECF No. 1). On 3 March 2021, this Court

granted Defendant’s Motion for Summary Judgment and dismissed Bradley’s two-count action.

(Order, ECF No. 63). This Court’s Order did not state that Bradley’s claims were objectively

unreasonable or otherwise improperly motivated. On 19 March 2021, this Court disqualified

Liebowitz from serving as Bradley’s counsel of record for issues unrelated to Bradley’s claims

asserted in this Action. (Order, ECF No. 68). As a result, Bradley retained new counsel, Susan

Freya Olive. (Notice of Appearance, ECF No. 72).

       Thereafter, on 1 June 2021, Booth emailed the Booth Subpoenas to Liebowitz. The Booth

Subpoenas seek the disclosure of proprietary and confidential financial information, banking

statements, income tax returns and other financial data. More specifically, among other things,

the Booth Subpoenas demand production of documents related to real property, general

partnership agreements, communications pertaining to the transfer of any property, all statements

of accounts payable and receivable, cash flow projections, all contracts of the Moving Parties, all

invoices of the Moving Parties, and documents “sufficient to ascertain the date and amount of

any judgment awarded to, or settlement agreement reached for, any client of the Firm.” Out of

necessity, the Moving Parties filed a Motion to Quash and for a Protective Order, through

undersigned counsel, in response to the Boone Subpoenas.

                                     LEGAL STANDARD




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         The Federal Rules of Civil Procedure, Rule 45, generally governs the issuance of

subpoenas to third-parties. The Rule permits parties in a pending civil action to command a non-

party to produce documents. See Fed. R. Civ. P. 45. Additionally, Rule 45(d)(3)(A) provides, as

relevant, that “[o]n timely motion, the court for the district where compliance is required must

quash or modify a subpoena that: (i) fails to allow a reasonable time to comply; . . . (iii) requires

disclosure of privileged or other protected matter, if no exception or waiver applies; or

(iv) subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A). The undue burden category

“encompasses situations where the subpoena seeks information irrelevant to the case.” Singletary

v. Sterling Transp. Co., 289 F.R.D. 237, 241 (E.D. Va. 2012) (quoting Cook v. Howard, No. 11-

1601, 484 Fed. Appx. 805, 2012 U.S. App. LEXIS 18053, 2012 WL 3634451, at *6 n.7 (4th Cir.

Aug. 24, 2012)). Moreover, a “subpoena imposes an undue burden on a party when a subpoena is

overbroad.” In re Subpoena Duces Tecum to AOL, LLC, 550 F. Supp. 2d 606, 612 (E.D. Va.

2008).

         Next, Rule 45(d)(3)(B) provides in relevant part that “[t]o protect a person subject to or

affected by a subpoena, the court for the district where compliance is required may, on motion,

quash or modify the subpoena if it requires: (i) disclosing a trade secret or other confidential

research, development, or commercial information.” Fed. R. Civ. P. 45(d)(3)(B); see also

Insulate Am. v. Masco Corp., 227 F.R.D. 427, 432 (W.D.N.C. 2005) (noting a subpoena seeking

confidential information should be quashed absent a showing of special need). Additionally, a

third-party may seek protection from the court under Fed. R. Civ. P. 26 in response to a

subpoena to protect itself from annoyance, embarrassment, oppression, or undue burden or

expense. See Insulate, 227 F.R.D. at 432.




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         Unlike other circumstances, when the subpoenas at issue are directed to an attorney for

the opposing party, a heightened burden is initially shifted to the party who issued the subpoena

to show that compliance should be required. Allen v. Brown Advisory, LLC, No. 3:20-MC-00008,

2020 U.S. Dist. LEXIS 170513, at *8, 2020 WL 5603760 (W.D. Va. Sept. 17, 2020). District

courts have found it appropriate to apply the Shelton test,1 which applies when determining

whether to allow the deposition of an opposing party’s counsel, “to document subpoenas served

on counsel for an opposing party, reasoning that document requests are the substantial equivalent

of depositions for these purposes and are just as problematic as the deposition requests, and for

the same reasons.” Id. at *6 (internal quotations omitted); see also Rygg v. Hulbert, No. 2:11-cv-

01827, 2013 WL 264762, at *1, 2013 U.S. Dist. LEXIS 9182, at *4 (W.D. Wash. Jan. 23, 2013).

The Moving Parties respectfully contend that this Court should quash the Booth Subpoenas and

issue an appropriate protective order under Rule 26.

                                                  ARGUMENT

POINT I:          ANOTHER DISTRICT COURT HAS QUASHED SIMILAR SUBPOENAS
                  ISSUED BY BOOTH AND BOOTH IS UNABLE TO MAKE THE
                  HEIGHTENED SHOWING REQUIRED UNDER THE SHELTON TEST

         The District Court Judge in Ward v. Consequence Holdings, LLC, 3:18-cv-01734-NJR-

MAB (S.D. Ill. 2018), addressed similar subpoenas Booth issued to LLF. In Ward, an order

granting sanctions was entered. Booth then served subpoenas, similar to the case at hand upon

LLF and its banking institution, which Liebowitz moved to quash. (See Ward, ECF No. 50, Exs.

2 & 3). The subpoena issued to LLF in Ward is attached hereto as Exhibit A.




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  While the Fourth Circuit has not formally adopted the Shelton test, “district courts within the circuit have ‘rather
uniformly’ applied it when determining whether to allow the deposition of an opposing party’s counsel.” Allen, 2020
U.S. Dist. LEXIS 170513, at *5-6 (quoting Ford Motor Co. v. Nat'l Indem. Co., 3:12CV839, 2013 WL 3831438
(E.D. Va. July 23, 2013) (collecting cases)) (citing McAirlaids, Inc. v. Kimberly-Clark Corp., No. 7:13-cv-00193,
2014 U.S. Dist. LEXIS 200135, at *14 (W.D. Va. Oct. 29, 2014)).


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       On 19 June 2020, Chief Judge Nancy J. Rosenstengel granted Liebowitz’s motion to

quash in Ward, stating as follows:

              As the Court has plainly stated previously, it does not wish to
              encourage the personal disputes between individual attorneys in
              this case that extend across multiple representations. Both parties’
              attorneys, apparently completely lacking in self-awareness, have
              continued their personal disputes in this venue and this Court will
              not give in to the parties' desires for legal gamesmanship that
              cheapen the legal profession . . . Furthermore, a subpoena
              issued pursuant to Federal Rule of Civil Procedure 45 is
              subject to the general relevancy standard for discovery
              described at Fed. R. Civ. P. 26(b)(1). The subpoenaing party
              must first show that its requests are relevant to its claims or
              defenses, within the meaning of Rule 26(b)(1). Since the intent
              of [d]efendant’s subpoenas directed at plaintiff were to find
              additional evidence to support [defendant’s] Motion for Order to
              Show Cause, Plaintiff’s Motion to Quash [defendant’s] subpoenas
              is GRANTED . . . Both parties are WARNED that continued
              jockeying in this closed case will result in the Court sanctioning
              both parties with mandatory continuing education courses in ethics
              and mentorship programs with Court-approved experienced
              lawyers at each attorney’s own expense for as long as the Court
              deems necessary.

(Ward Dkt. Order, ECF No. 51, attached hereto as Exhibit B (emphasis added)).

       While Judge Rosenstengel only found Booth did not meet the standard described at Fed.

R. Civ. P. 26(b)(1) under the circumstances in Ward, in this matter, Booth is also unable to make

the heightened showing required by the Shelton test. Under the Shelton three-pronged test, as

applicable to document subpoenas, the party seeking to obtain documents from

an opposing counsel must show all of the following: “(1) no other means exist to obtain the

information than to [obtain documents from the] opposing counsel; (2) the information sought is

relevant and non-privileged; and (3) the information is crucial to the preparation of the

case.” Shelton v. Am. Motors Corp., 805 F.2d 1323, 1327 (8th Cir. 1986) (internal citations

omitted). This heightened standard was adopted because the “[t]he harassing practice of [seeking




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discovery directly from an] opposing counsel . . . appears to be an adversary trial tactic that does

nothing for the administration of justice but rather prolongs and increases the costs of litigation,

demeans the profession, and constitutes an abuse of the discovery process.” Id. at 1330; see also

Navient Sols., LLC v. Law Offices of Jeffrey Lohman, P.C., No. 1:19-cv-461, 2020 U.S. Dist.

LEXIS 205509, at *14 (E.D. Va. Sept. 4, 2020) (noting federal courts generally disfavor

discovery sought directly from an opposing attorney through deposition). “[W]hen seeking to

[obtain documents from an] opposing counsel, the cards are stacked against the requesting party

from the outset and they must prove the [subpoenaed documents’] necessity.” Guantanamera

Cigar Co. v. Corporacion Habanos, S.A., 263 F.R.D. 1, 9 (D.D.C. 2009); see also N.F.A. Corp.

v. Riverview Narrow Fabrics, Inc., 117 F.R.D. 83, 85 (M.D.N.C. 1987); Allen, 2020 U.S. Dist.

LEXIS 170513, at *8 (noting “the party responsible for issuing the subpoena bears the burden of

showing that compliance should be required”).

       Specifically in this matter, Booth is unable to show that the information sought is relevant

and non-privileged or that the information is crucial to the preparation of Defendant’s case.

Notably, this Court previously entered summary judgment on Bradley’s claims and disqualified

Liebowitz from representing Bradley in this action. (ECF Nos. 63 & 68). There is no pending

claim or motion for which the Booth Subpoenas seek relevant information.

       The Moving Parties suspect the Booth Subpoenas are ostensibly intended to discover

LLF’s financial condition in the event Defendant succeeds on a motion for sanctions on grounds

that this Court granted summary judgment in Defendant’s favor. Importantly, however, such a

motion has not been filed, let alone adjudicated. See, e.g., Taylor v. McGill Envtl. Sys. of N.C.,

No. 7:13-CV00270-D, 2015 U.S. Dist. LEXIS 31198, at *20, 2015 WL 1125108 (E.D.N.C. Mar.

12, 2015) (holding a party could not discover financial information prior to developed motions




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and briefing supporting summary judgment on punitive damages in favor of the seeking party).

Federal courts have entered orders quashing document subpoenas as premature where they seek

financial information concerning an issue that has yet to be decided by the court. See, e.g.,

Shulick v. Credit Bureau Collection Servs., Inc., No. CIV.A.02-1127, 2003 WL 22100873, at *1,

2003 U.S. Dist. LEXIS 15500, at *3 (E.D. Pa. July 31, 2003) (noting a subpoena was premature);

Field v. Anadarko Petroleum Corp., No. 4:20-CV-00575, 2020 WL 4937122, at *2 (S.D. Tex.

Aug. 24, 2020) (quashing subpoena as premature). Accordingly, the Moving Parties respectfully

contend the Booth Subpoenas seek irrelevant material.

       Moreover, even if a sanctions motion had been made, Booth has not shown the

documents requested by the Booth Subpoenas, including credit card statements and client

invoices, are crucial to support any such motion. The Moving Parties will address the merits of

any motion for sanctions when, and if, such a motion is ever filed. The Moving Parties do,

however, dispute that sanctions against the Moving Parties are appropriate. An adverse

adjudication of the merits on summary judgment should not subject the losing attorney to

sanctions or allow the winning attorney to then issue subpoenas for the opposing law firm’s

financial records.

       Booth is also unable to show the Booth Subpoenas do not seek privileged information.

For example, the Subpoena issued to LLF requests the following:

               All documents pertaining to all open or closed checking, savings,
               escrow, IOLA, IOLTA, NOW, Time, or other deposit or checking
               accounts, including: account ledgers, account registers, bank
               statements, canceled checks, credit memos, debit memos, deposit
               tickets, items deposited, wires in, and wires out.




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Any attorney who has an IOLTA account, including Booth, should know this, at least likely,

requests privileged and confidential information regarding a law firm’s other clients—which are

not a party to this case. See, e.g., N.C. R. Prof’l Conduct 1.15-3 (noting required record keeping).

       Regardless of whether Booth could ever make the required showing, while the Moving

Parties respectfully contend that Booth could not, given the current posture, the court’s holding

in Allen is instructive. In Allen, the court addressed a motion to compel related to a documents

subpoenas issued to an opposing party’s counsel. Allen, 2020 U.S. Dist. LEXIS 170513, at *6-9.

The court in Allen noted the party who issued the subpoena had “not yet attempted to satisfy [its]

initial burden” to make the required heightened showing under the Shelton test. Id. at *8-9. The

court in Allen thus held that the subpoenaed parties “will not be required to provide any further

response to the subpoena.” Id. Like Allen, Booth has not attempted to make the required showing

under the Shelton test. The Moving Parties, therefore, respectfully request this Court to quash the

Booth Subpoenas and enter a protective order that no response to the Booth Subpoenas is

required.

POINT II:      THE BOOTH SUBPOENAS ARE PROCEDURALLY DEFECTIVE

       Pursuant to Fed. R. Civ. P. 45(a)(3), a subpoena must be issued by the clerk of court or an

attorney authorized to practice in the issuing court. Here, among other defects, the Subpoena

issued to Liebowitz was not signed by the Clerk of Court or any attorney. The Subpoenas, which

Booth sent to LLF and Liebowitz by e-mail, were also not properly served. See Fed. R. Civ. P.

45(b). As such, the Moving Parties respectfully request this Court to quash the Subpoenas as

procedurally defective and enter appropriate relief since the Moving Parties were required to

respond to the procedurally defective Booth Subpoenas. See Fed. R. Civ. P. 45(d)(1).

POINT III:     THE BOOTH SUBPOENAS ARE OVERLY BROAD AND UNDULY
               BURDENSOME AND SEEK IRRELEVANT INFORMATION


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       “A party or attorney responsible for issuing and serving a subpoena must take reasonable

steps to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed. R.

Civ. P. 45(d)(1). Under Rule 45, district courts are required to quash or modify a subpoena that

“subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iv); see also In re Subpoena

Duces Tecum to AOL, LLC, 550 F. Supp. 2d at 612; Singletary, 289 F.R.D. at 241; Insulate, 227

F.R.D. at 432. Even absent the higher showing required by the Shelton test, the Booth Subpoenas

should be quashed and a protective order entered because the Booth Subpoenas are overly broad

and unduly burdensome, and subject the Moving Parties to annoyance, oppression, and undue

expense. See In re Subpoena Duces Tecum to AOL, LLC, 550 F. Supp. 2d at 612.

       Here, the Booth Subpoenas seek extensive financial records. For example, the Subpoenas

to LLF and Liebowitz seek the following: “Request No. 3. All bank statements for accounts in

the name of, or under the signatory authority of, any named person or entity, AND in the name

of any entity in which any named person or entity has or has had an equitable interest.” The

Subpoena goes on to define “bank statements” to include the following:

              All documents pertaining to all open or closed bank loans or
              mortgage documents, reflecting loans made to or co-signed by any
              named person or entity, including: loan applications, ledger sheets,
              documents reflecting the means by which loan proceeds were
              disbursed, documents reflecting the means by which loan
              repayments were made, loan correspondence, collateral
              agreements, credit reports, financial statements, notes or other
              instruments regarding the obligation to pay, real estate or other
              mortgages, security instruments, and loan amortization statements.
              ....
              All documents pertaining to all bank checks, cashier’s checks,
              manager’s checks, traveler’s checks, and money orders purchased,
              held, or negotiated by any named person or entity, including:
              applications for purchase, retained copies, documents reflecting the
              means by which the checks or money orders were purchased, and
              documents reflecting the means by which proceeds of the checks
              or money orders were disbursed.



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              ....
              All documents pertaining to open or closed credit cards in the
              name of or under the signatory authority of any named person or
              entity, including: applications for credit, charge tickets,
              correspondence, credit reports, financial statements, monthly
              statements, and documents reflecting payments on the account.

The Booth Subpoenas are replete with similar demands for confidential and proprietary

documents. The Moving Parties contend that the Booth Subpoenas, on their face, show that they

are overly broad and impose an undue burden on the Moving Parties.

       The Federal District Court Judge in Ward warned against “legal gamesmanship that

cheapen the legal profession.” (Ward Dkt. Order, ECF No. 51). Thereafter, Booth issued the

Booth Subpoena seeking, among other things, credit reports and an opposing attorney’s closed

credit card statements—before Booth filed a motion for sanctions or made any type of showing

that sanctions are warranted. The Moving Parties respectfully contend this shows the Booth

Subpoenas should be quashed and a protective order is needed to protect the Moving Parties

from annoyance, oppression, and undue burden and expense. See Fed. R. Civ. P. 26(c)(1).

                                       CONCLUSION

       For the foregoing reasons, the Moving Parties respectfully request this Court to quash the

Booth Subpoenas and enter a protective order that no response is required to the Booth

Subpoenas.

       Respectfully submitted, this the 15th day of June, 2021.

                                        /s/ LUKE A. DALTON
                                        Luke A. Dalton (N.C. Bar No: 41188)
                                        luke.dalton@mgclaw.com
                                        McAngus Goudelock & Courie, PLLC
                                        Post Office Box 30516, Raleigh, North Carolina 27622
                                        Telephone: (919) 719-8204
                                        Facsimile: (919) 510-9825
                                        Counsel for Liebowitz Law Firm, PLLC and Richard
                                        Liebowitz



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                              CERTIFICATE OF SERVICE

       I hereby certify that on this June 15th, 2021, I electronically filed the foregoing

Memorandum of Law in Support of Liebowitz Law Firm, PLLC and Richard Liebowitz’s

Motion to Quash and For Protective Order with the Clerk of Court using the CM/ECF system,

which will serve the document on registered users, and that I have emailed the document to the

following:

                                     Susan Freya Olive
                                     Olive & Olive, P.A.
                              emailboxednc@oliveandolive.com
                                    Attorney for Plaintiff

                                         Dan Booth
                                    Dan Booth Law LLC
                                   dan@danboothlaw.com
                            Attorney for Analytical Grammar, Inc.


                                       /s/ LUKE A. DALTON
                                       Luke A. Dalton (N.C. Bar No: 41188)
                                       luke.dalton@mgclaw.com
                                       McAngus Goudelock & Courie, PLLC
                                       Post Office Box 30516, Raleigh, North Carolina 27622
                                       Telephone: (919) 719-8204
                                       Counsel for Liebowitz Law Firm, PLLC and Richard
                                       Liebowitz




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